     Case 3:19-cv-00534-MMD-WGC Document 22 Filed 10/16/20 Page 1 of 2



1                                UNITED STATES DISTRICT COURT
2                                       DISTRICT OF NEVADA
3      WES JOSEPH PERTGEN,                                Case No. 3:19-cv-00534-MMD-WGC
4                                             Plaintiff                     ORDER
5             v.
6      ISIDRO BACA, et al.,
7                                         Defendants
8
9     I.     DISCUSSION

10           On September 16, 2020, the Court gave Plaintiff leave to file a first amended

11    complaint within 30 days. (ECF No. 16.) Plaintiff seeks an extension to file an amended

12    complaint until November 30, 2020. (ECF No. 18.) The Court grants the motion for an

13    extension of time. Plaintiff shall file his first amended complaint on or before November

14    30, 2020. If Plaintiff fails to file a timely first amended complaint, this action will be

15    dismissed with prejudice for failure to state a claim. (See ECF No. 16 at 4.)

16           Plaintiff also seeks permission to add Defendants and or claims to his first

17    amended complaint that were not included in his initial complaint. (ECF No. 19.) The

18    Court grants Plaintiff’s request. Plaintiff may add additional Defendants or claims to his

19    first amended complaint.

20           Finally, Plaintiff requests a copy of the approved form for filing a § 1983 complaint.

21    (ECF No. 20.) Plaintiff indicates that he tried to use the form that the Court previously

22    sent him, but he made so many errors that the form is no longer usable. (Id. at 2.) The

23    Court grants Plaintiff’s motion and will order the Clerk of the Court to send Plaintiff another

24    copy of the approved form for filing a § 1983 complaint.

25    II.    CONCLUSION

26           For the foregoing reasons, it is ordered that Plaintiff’s motion for extension of time

27    to file his first amended complaint (ECF No. 18) is granted. Plaintiff shall file his first

28    amended complaint on or before November 30, 2020.
     Case 3:19-cv-00534-MMD-WGC Document 22 Filed 10/16/20 Page 2 of 2



1            It is further ordered that, if Plaintiff fails to timely file his first amended complaint,
2     this action will be dismissed with prejudice for failure to state a claim.
3            It is further ordered that Plaintiff’s motion to be allowed to add additional claims
4     and Defendants to his first amended complaint (ECF No. 19) is granted.
5            It is further ordered that Plaintiff’s motion for a copy of the approved form for filing
6     a § 1983 complaint (ECF No. 20) is granted. The Clerk of Court will send to Plaintiff the
7     approved form for filing a § 1983 complaint and instructions for the same.
8
9                       16th day of October 2020.
             DATED THIS ___
10
11                                                UNITED STATES MAGISTRATE JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                    -2-
